                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

IN RE:                                                )
                                                      )
INTEGRATED HEALING TECHNOLOGIES,                      )
LLC,                                                  )       Case No: 3:18-bk-04526
                                                      )       Chapter 7
                                                      )       Judge Mashburn
           Debtor.                                    )

THE DEADLINE FOR FILING A TIMELY RESPONSE IS: February 14, 2019
IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: February 26, 2019, 9:00 a.m.
Courtroom 1, U.S. Bankruptcy Court, Customs House, 701 Broadway, Nashville, TN

                          NOTICE OF FIRST INTERIM MOTION OF
                      PATTERSON INTELLECTUAL PROPERTY LAW, P.C.,
                           SPECIAL COUNSEL TO THE TRUSTEE,
                           FOR ALLOWANCE OF COMPENSATION

       Patterson Intellectual Property Law, P.C., special counsel to John C. McLemore, Trustee, has asked
the Court for the following:

         Permission of the Court to approve the attached Motion for Attorney’s Fees.

        YOUR RIGHTS MAY BE AFFECTED. If you do not want the Court to grant the attached motion,
or if you want the Court to consider your views on the motion, then on or before February 14, 2019, you or
your attorney must:

1.      File with the Court your response or objection explaining your position. PLEASE NOTE: THE
BANKRUPTCY COURT FOR THE MIDDLE DISTRICT OF TENNESSEE REQUIRES
ELECTRONIC FILING. ANY RESPONSE OR OBJECTION YOU WISH TO FILE MUST BE
SUBMITTED ELECTRONICALLY. TO FILE ELECTRONICALLY, YOU OR YOUR ATTORNEY
MUST GO TO THE COURT WEBSITE AND FOLLOW THE INSTRUCTIONS AT:
https://ecf.tnmb.uscourts.gov.

If you need assistance with Electronic Filing you may call the Bankruptcy Court at (615) 736-5584. You may
also visit the Bankruptcy Court in person at: U.S. Bankruptcy Court, 701 Broadway, 1st Floor, Nashville,
Tennessee (Monday – Friday, 8:00 a.m. – 4:00 p.m.).

2.     Your response must state that the deadline for filing responses is February 14, 2019, the date of
the scheduled hearing is February 26, 2019, and the motion to which you are responding is the First
Interim Motion of Patterson Intellectual Property Law, P.C., Special Counsel to the Trustee, for Allowance
of Compensation.




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3.     You must serve your response or objection by electronic service through the Electronic Filing system
described above. You must also mail a copy of your response or objection to:

John C. McLemore         United States Trustee                   Patterson Intellectual Property Law, P.C.
2000 Richard Jones Rd.   701 Broadway, Customs House Suite 318   1600 Division Street, Ste. 500
Suite 250                Nashville, TN 37203                     Nashville, TN 37203
Nashville, TN 37215


        If a timely response is filed before the deadline stated above, the hearing will be held at the time and
place indicated above. THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE. You
may check whether a timely response has been filed by calling the Clerk’s office at (615) 736-5584 or viewing
the case on the Court’s website at www.tnmb.uscourts.gov .

        If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief
sought in the motion and may enter an order granting that relief.

        Dated this 24th day of January, 2019.

                                                          Respectfully submitted,

                                                          /s/ John C. McLemore, Trustee
                                                          John C. McLemore, Trustee
                                                          Tn. Bar No. 3430
                                                          2000 Richard Jones Rd., Ste. 250
                                                          Nashville, TN 37215
                                                          (615) 383-9495 (phone)
                                                          (615) 292-9848 (fax)
                                                          jmclemore@gmylaw.com




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IN RE:                                                        )
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INTEGRATED HEALING TECHNOLOGIES,                              )
LLC,                                                          )        Case No: 3:18-bk-04526
                                                              )        Chapter 7
                                                              )        Judge Mashburn
                  DEBTOR.                                     )

       FIRST INTERIM MOTION OF PATTERSON INTELLECTUAL PROPERTY LAW, P.C.,
        SPECIAL COUNSEL TO THE TRUSTEE, FOR ALLOWANCE OF COMPENSATION

           Patterson Intellectual Property Law, P.C., (“Applicant”), special counsel to John C. McLemore,

Trustee, respectfully represents:

           1. By application filed on September 26, 2018, and order entered on October 19, 2018, Applicant

was appointed and employed as special counsel for the Trustee.

           2. All services for which compensation is requested herein were performed for, or on behalf of the

Trustee and the estate, and were not performed on behalf of any committee, creditor, or any other person.

This motion covers attorney’s fees for the period September 26, 2018, through December 31, 2018, and seeks

final approval for all compensation paid the Applicant in this case. 1

           3. The Trustee recommends the approval of the fee requested.

           4. Attached are copies of all bills which include an itemization of time spent in this proceeding. A

summary of the requested compensation follows:

    Name                        Hourly Rate      Total Hours         Fees          Expenses           Total


    Hilary D. Lang              $400.00          10.70            $4,280.00        $0.00          $4,280.00




1
 On the Applicant’s timesheets there are references to expenses which have been paid by “Trust Funds Applied.” In
order to maintain both domestic and European patents, it has been necessary for the Trustee to pay fees. The Trustee
paid these fees to the Applicant which in turn paid them to the correct patent authority.



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          5. Applicant submits this application as a detailed summary of the services performed and would

 state that the services rendered were reasonable and necessary for the administration of this estate.

          6. This is the Applicant’s first interim fee application. No agreement or understanding exists between

Applicant and any other person for sharing the compensation for services rendered in or in connection with

this case.

          7. The award of the fee will not prejudice the rights of any creditor of equal or higher priority.

          8. During the time period covered by this fee application, Applicant has performed substantial

 services on behalf of the Trustee and the estate, including:

               •   Assisted the Trustee with intellectual property issues.

                                               CASE STATUS

          9. As of January 24, 2019, the Trustee was holding $93,760.21 on deposit in this bankruptcy

estate.

          10. The Trustee has filed a notice of assets and request for proof of claims. At this time, the amount

of claims is $13,898,001.10. That includes secured claims of $3,197.00, priority claims of $254,363.98

and general unsecured claims of $13,640,440.12. The deadline for filing claims was October 22, 2018. 2

          11. Current unpaid administrative expenses are as follows:

                                       Expense                                   Estimated Amount
             Trustee’s Estimated Unpaid Commission                              $12,977.00
             Trustee’s Expenses                                                 $2,500.00
             Attorney Fees & Expenses for Thompson Burton, PLLC                 $unknown
             Attorney Fees & Expenses for Patterson Intellectual                $4,280.00
             Attorney Fees & Expenses for John C. McLemore, PLLC                unknown
             Accounting Fees                                                    unknown
             TOTAL                                                              $19,757.00




 2
  This amount is subject to change. Such disclosure of this amount does not bar the Trustee from objecting to the
 allowance of filed claims.



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         12. The proposed distribution to creditors is as follows:

       Current         Distribution       Amount of          Anticipated       Amount of             Anticipated
       Funds on        Amount if          Claimed            % of              Claimed               % of
       Hand            all Expenses       Priority           Priority          Unsecured             Unsecured
                       and Fees           Debt 3             Debt to be        Debt 4                Debt to be
                       Allowed                               Paid                                    Paid

       $93,760.21      $74,003.21         $254,363.98        29%               $13,640,440.12        0%



         13. The amounts and percentages disclosed in Paragraph 12 are subject to change. At this time,

the Trustee cannot predict the amount of the final distribution to the allowed priority creditors and allowed

non-priority unsecured creditors.

         WHEREFORE, Applicant prays for an order (i) awarding Patterson Intellectual Property Law, P.C.,

special counsel to the Trustee, fees of $4,280.00; and (ii) for such other relief as may be necessary and

appropriate.

         Dated this 24th day of January, 2019.

                                                               Respectfully submitted,

                                                               /s/ John C. McLemore, Trustee
                                                               John C. McLemore, Trustee
                                                               Tn. Bar No. 3430
                                                               2000 Richard Jones Rd., Ste. 250
                                                               Nashville, TN 37215
                                                               (615) 383-9495 (phone)
                                                               (615) 292-9848 (fax)
                                                               jmclemore@gmylaw.com

       BY SIGNATURE BELOW, I, John C. McLemore, Trustee, declares under penalty of perjury that I
have reviewed the application with the bill(s) and exhibit(s) and that the information contained therein is true
and correct to the best of my knowledge, information and belief.

                                                               /s/ John C. McLemore, Trustee
                                                               John C. McLemore, Trustee
3
  The amount of priority debt is the amount submitted at this time. This amount is subject to change. Such disclosure
of this amount does not bar the Trustee from objecting to the allowance of filed claims.
4
  The amount of allowed non-priority unsecured debt is the amount submitted at this time. The amount is subject to
change. Such disclosure of this amount does not bar the Trustee from objecting to the allowance of filed claims.



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IN RE:                                                  )
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INTEGRATED HEALING TECHNOLOGIES,                        )
LLC,                                                    )       Case No: 3:18-bk-04526
                                                        )       Chapter 7
                                                        )       Judge Mashburn
           Debtor.                                      )

                     FIRST INTERIM ORDER AWARDING COMPENSATION TO
                        PATTERSON INTELLECTUAL PROPERTY LAW, P.C.,
                             SPECIAL COUNSEL TO THE TRUSTEE

        This matter is before the Court upon the application of Patterson Intellectual Property Law, P.C.,
special counsel to the Trustee, for allowance of compensation/fees. Notice of the application having been
served, and no objections to the requested compensation/fees having been filed,

       It is, therefore, ORDERED that Patterson Intellectual Property Law, P.C., special counsel to the
Trustee, shall be and is hereby awarded fees of $4,280.00.

       It is further ORDERED that the Trustee shall be and is hereby authorized to disburse said monies
from the assets of the estate.

         This Order was signed and entered electronically as indicated at the top of this page.

APPROVED FOR ENTRY:

/s/ John C. McLemore, Trustee
John C. McLemore, Trustee
Tn. Bar No. 3430
2000 Richard Jones Rd., Ste. 250
Nashville, TN 37215
(615) 383-9495 (phone)
(615) 292-9848 (fax)
jmclemore@gmylaw.com




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LLC,                                                   )       Case No: 3:18-bk-04526
                                                       )       Chapter 7
                                                       )       Judge Mashburn
           Debtor.                                     )

                                      CERTIFICATE OF SERVICE

        I hereby certify that on the date noted below, a true and correct copy of the foregoing listed below
was mailed electronically to the United States Trustee’s Office and all parties requesting electronic notice in
this matter, and by US Mail to the parties on the attached mailing matrix.

         This 24th day of January, 2019.
                                                       Respectfully submitted,

                                                       /s/ John C. McLemore, Trustee.
                                                       John C. McLemore, Trustee
                                                       Tn. Bar No. 3430
                                                       2000 Richard Jones Rd., Ste. 250
                                                       Nashville, TN 37215
                                                       (615) 383-9495 (phone)
                                                       (615) 292-9848 (fax)
                                                       jmclemore@gmylaw.com




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Integrated Healing Technologies, LLC       John C. Tishler                   Gary Ferguson
Case No. 18-04526-RM3-7                    Waller Lansden Dortch & Davis     9233 Old Smyrna Rd.
                                           511 Union Street, Ste. 2700       Brentwood, TN 37027
                                           Nashville, TN 37219


FirstBank                                  Five Star Venture Funding         Fred Goad
211 Commerce St., Ste. 300                 2002 Tyne Blvd.                   917 Stuart Lane
Nashville, TN 37201                        Nashville, TN 37215               Brentwood, TN 37027



Graymar Investors                          Robert Lipman                     Keith Mullins
411 Great Circle Rd.                       411 Great Circle Rd.              301 Plus Park Blvd. Ste. 215
Nashville, TN 37228                        Nashville, TN 37228               Nashville, TN 37217



Linda Rebrovick                            Albert Rodewald                   Timothy J. Patton Trust
5202 Close Cir.                            4814 Byrd Lane                    2100 Londonberry
Nashville, TN 37205                        College Grove, TN 37046           Ann Arbor, MI 48104




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